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              EXHIBIT 12
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     Tuesday, August 11, 2020



     Title 3—                                            Executive Order 13942 of August 6, 2020

     The President                                       Addressing the Threat Posed by TikTok, and Taking Addi-
                                                         tional Steps To Address the National Emergency With Re-
                                                         spect to the Information and Communications Technology
                                                         and Services Supply Chain

                                                         By the authority vested in me as President by the Constitution and the
                                                         laws of the United States of America, including the International Emergency
                                                         Economic Powers Act (50 U.S.C. 1701 et seq.) (IEEPA), the National Emer-
                                                         gencies Act (50 U.S.C. 1601 et seq.), and section 301 of title 3, United
                                                         States Code,
                                                         I, DONALD J. TRUMP, President of the United States of America, find
                                                         that additional steps must be taken to deal with the national emergency
                                                         with respect to the information and communications technology and services
                                                         supply chain declared in Executive Order 13873 of May 15, 2019 (Securing
                                                         the Information and Communications Technology and Services Supply
                                                         Chain). Specifically, the spread in the United States of mobile applications
                                                         developed and owned by companies in the People’s Republic of China
                                                         (China) continues to threaten the national security, foreign policy, and econ-
                                                         omy of the United States. At this time, action must be taken to address
                                                         the threat posed by one mobile application in particular, TikTok.
                                                         TikTok, a video-sharing mobile application owned by the Chinese company
                                                         ByteDance Ltd., has reportedly been downloaded over 175 million times
                                                         in the United States and over one billion times globally. TikTok automatically
                                                         captures vast swaths of information from its users, including internet and
                                                         other network activity information such as location data and browsing and
                                                         search histories. This data collection threatens to allow the Chinese Com-
                                                         munist Party access to Americans’ personal and proprietary information—
                                                         potentially allowing China to track the locations of Federal employees and
                                                         contractors, build dossiers of personal information for blackmail, and conduct
                                                         corporate espionage.
                                                         TikTok also reportedly censors content that the Chinese Communist Party
                                                         deems politically sensitive, such as content concerning protests in Hong
                                                         Kong and China’s treatment of Uyghurs and other Muslim minorities. This
                                                         mobile application may also be used for disinformation campaigns that
                                                         benefit the Chinese Communist Party, such as when TikTok videos spread
                                                         debunked conspiracy theories about the origins of the 2019 Novel
                                                         Coronavirus.
                                                         These risks are real. The Department of Homeland Security, Transportation
                                                         Security Administration, and the United States Armed Forces have already
                                                         banned the use of TikTok on Federal Government phones. The Government
                                                         of India recently banned the use of TikTok and other Chinese mobile applica-
                                                         tions throughout the country; in a statement, India’s Ministry of Electronics
                                                         and Information Technology asserted that they were ‘‘stealing and surrep-
                                                         titiously transmitting users’ data in an unauthorized manner to servers which
                                                         have locations outside India.’’ American companies and organizations have
                                                         begun banning TikTok on their devices. The United States must take aggres-
                                                         sive action against the owners of TikTok to protect our national security.
                                                         Accordingly, I hereby order:
                                                         Section 1. (a) The following actions shall be prohibited beginning 45 days
                                                         after the date of this order, to the extent permitted under applicable law:


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                                                         any transaction by any person, or with respect to any property, subject
                                                         to the jurisdiction of the United States, with ByteDance Ltd. (a.k.a. Zı̀jié
                                                         Tiàodòng), Beijing, China, or its subsidiaries, in which any such company
                                                         has any interest, as identified by the Secretary of Commerce (Secretary)
                                                         under section 1(c) of this order.
                                                            (b) The prohibition in subsection (a) of this section applies except to
                                                         the extent provided by statutes, or in regulations, orders, directives, or
                                                         licenses that may be issued pursuant to this order, and notwithstanding
                                                         any contract entered into or any license or permit granted before the date
                                                         of this order.
                                                            (c) 45 days after the date of this order, the Secretary shall identify the
                                                         transactions subject to subsection (a) of this section.
                                                         Sec. 2. (a) Any transaction by a United States person or within the United
                                                         States that evades or avoids, has the purpose of evading or avoiding, causes
                                                         a violation of, or attempts to violate the prohibition set forth in this order
                                                         is prohibited.
                                                            (b) Any conspiracy formed to violate any of the prohibitions set forth
                                                         in this order is prohibited.
                                                         Sec. 3. For the purposes of this order:
                                                            (a) the term ‘‘person’’ means an individual or entity;
                                                           (b) the term ‘‘entity’’ means a government or instrumentality of such
                                                         government, partnership, association, trust, joint venture, corporation, group,
                                                         subgroup, or other organization, including an international organization;
                                                         and
                                                           (c) the term ‘‘United States person’’ means any United States citizen,
                                                         permanent resident alien, entity organized under the laws of the United
                                                         States or any jurisdiction within the United States (including foreign
                                                         branches), or any person in the United States.
                                                         Sec. 4. The Secretary is hereby authorized to take such actions, including
                                                         adopting rules and regulations, and to employ all powers granted to me
                                                         by IEEPA as may be necessary to implement this order. The Secretary
                                                         may, consistent with applicable law, redelegate any of these functions within
                                                         the Department of Commerce. All departments and agencies of the United
                                                         States shall take all appropriate measures within their authority to implement
                                                         this order.
                                                         Sec. 5. General Provisions. (a) Nothing in this order shall be construed
                                                         to impair or otherwise affect:
                                                           (i) the authority granted by law to an executive department, agency, or
                                                           the head thereof; or
                                                           (ii) the functions of the Director of the Office of Management and Budget
                                                           relating to budgetary, administrative, or legislative proposals.
                                                           (b) This order shall be implemented consistent with applicable law and
                                                         subject to the availability of appropriations.




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                                                           (c) This order is not intended to, and does not, create any right or benefit,
                                                         substantive or procedural, enforceable at law or in equity by any party
                                                         against the United States, its departments, agencies, or entities, its officers,
                                                         employees, or agents, or any other person.




                                                         THE WHITE HOUSE,
                                                         August 6, 2020.


     [FR Doc. 2020–17699
     Filed 8–10–20; 11:15 am]
     Billing code 3295–F0–P




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